
— Appeal from an order of the Supreme Court, Genesee County (Robert C. Noonan, A.J.), entered September 4, 2007 in a personal injury action. The order, following a bifurcated trial on liability, denied the post-trial motion of defendant Michael Gibson for judgment notwithstanding the verdict with respect to the issue of his negligence.
It is hereby ordered that said appeal is unanimously dismissed without costs (see Smith v Catholic Med. Ctr. of Brooklyn &amp; Queens, 155 AD2d 435 [1989]; see also CPLR 5501 [a] [1], [2]). Present — Scudder, EJ., Centra, Fahey, Peradotto and Green, JJ.
